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 5                                   UNITED STATES DISTRICT COURT
 6                                   EASTERN DISTRICT OF CALIFORNIA
 7

 8   UNITED STATES OF AMERICA,                          NO. CR. S-13-00050 KJM
 9                      Plaintiff,
10           v.                                         TRIAL CONFIRMATION ORDER
11   ZHIQIANG LIU,
     SHIHONG CHEN,
12   QINGHONG LI,
     JUN MOU PENG, and
13   HUANHAO CHEN,
14                      Defendants.
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16           The trial in the above-captioned case, scheduled to commence on February 1, 2016, at

17   9:00 a.m., was confirmed as to Defendants Shihong Chen and Jun Mou Peng at the trial

18   confirmation hearing held on November 3, 2015. In preparation for the upcoming trial, the court

19   hereby ORDERS:

20           I.     TRIAL BRIEFS AND STATEMENT OF THE CASE

21           No later than January 25, 2016, the parties may file trial briefs and the government shall

22   file a statement of the case with the court. In their trial briefs, the parties shall include a summary

23   of points of law, including reasonably anticipated disputes concerning admissibility of evidence,

24   legal arguments, any other information the parties believe is relevant, and citations of authority in

25   support thereof. In lieu of a statement of the case, the parties may file a joint proposed jury

26   instruction that can be read to the jury in advance of voir dire that explains the nature of the case.

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 1          II.     PROPOSED JURY INSTRUCTIONS
 2          Counsel are informed that the court has prepared a standard set of standard jury
 3   instructions. In general, they cover all aspects of the trial except those relating to the charges
 4   contained in the charging document. Accordingly, counsel need not prepare instructions
 5   concerning matters within the scope of the prepared instructions. A copy of the prepared
 6   instructions has been provided to the parties following the trial confirmation hearing. Counsel are
 7   further directed that their specific proposed jury instructions shall be filed no later than January
 8   25, 2016. As to any instructions counsel desire to offer, the proposing party shall also submit a
 9   sanitized copy in Microsoft Word format via email to: kjmorders@caed.uscourts.gov.
10          III.    PROPOSED VOIR DIRE QUESTIONS AND VERDICT FORM
11          The parties may file proposed voir dire questions no later than January 25, 2016. In
12   addition, the government shall file a proposed verdict form. Any proposed voir dire questions
13   and the proposed verdict form shall also be submitted in Microsoft Word format via email to:
14   kjmorders@caed.uscourts.gov.
15          IV.     MOTIONS IN LIMINE
16          The parties shall file with the court motions in limine, if any, no later than January 13,
17   2016. The parties are required to meet and confer before filing a motion to determine if
18   agreement can be reached or the scope of a motion narrowed before filing. Any motion filed
19   shall contain a plain, concise summary of any reasonably anticipated disputes concerning
20   admissibility of evidence, including but not limited to, live and deposition testimony, physical
21   and demonstrative evidence and the use of special technology at trial, including computer
22   animation, video discs, and other technology. Any opposition briefs to the motions in limine
23   shall be filed no later than January 20, 2016. The court will advise the parties which motions it
24   will resolve before trial after argument on January 27, 2016 at 9:00 a.m.
25          V.      EXHIBIT LIST AND WITNESS LIST
26          The government shall, and the defendant may, file exhibit and witness lists no later than
27   January 25, 2016. Exhibit lists shall also be submitted in Microsoft Word format via email to:
28   kjmorders@caed.uscourts.gov.
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 1          All exhibits should be pre-marked with exhibit stickers provided by the court. The
 2   government’s exhibits shall be numbered. Should the defendant elect to introduce exhibits at
 3   trial, such exhibits shall be designated by alphabetical letter. The parties may obtain exhibit
 4   stickers by contacting the clerk’s office at (916) 930-4000.
 5          VI. MISCELLANEOUS
 6          Counsel also is referred to the additional information available in the standing orders
 7   available online at the judge’s homepage.
 8   DATED: November 9, 2015.
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                                                    UNITED STATES DISTRICT JUDGE
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